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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff/Respondent,

vs.                                                                     Case No. 06-20663

ROBERT M. SILLS,                                                       HON AVERN COHN

     Defendant/Petitioner.
________________________________/

        ORDER DENYING MOTION UNDER FED. R. CIV. P. 59(e) (Doc. 894)

                                      I. Introduction

       This is a habeas case under 28 U.S.C. § 2255. Petitioner, Robert M. Sills, was

found guilty by a jury to one count of conspiracy to possess with intent to distribute

cocaine, in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(A)(ii)(II), for which he

received a custody sentence of 136 months imprisonment. Sills filed a motion under

§2255 in which he argued that he was deprived of his Sixth Amendment right to

effective counsel. Sills specifically claimed that his counsel was ineffective when he

failed (1) to object to the government's vouching for the drug ledgers during rebuttal

closing argument, (2) to object to the government's comment on Sills' right to silence,

(3) to investigate the government's witness Danny Jones, (4) to present evidence of

Sills’ October 26, 2005 flight from Houston, Texas to St. Louis, Missouri, and (5) to

object to the government playing an undisclosed tape during trial. Sills also argued that

the government committed prosecutorial misconduct which violated his rights of due

process and a fair trial under the Fifth Amendment. The Court denied the motion and
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denied a certificate of appealability. (Doc. 890). Before the Court is Petitioner’s motion

to alter or amend the judgment under Fed. R. Civ. P. 59(e). (Doc. 894). For the

reasons that follow, the motion is DENIED.

                                    II. Legal Standard

       Fed. R. Civ. P. 59(e) may be used as a vehicle for seeking reconsideration of any

prior ruling of the court. Generally, there are three situations which justify

reconsideration under Rule 59(e): (1) to correct a clear error of law; (2) to account for

newly discovered evidence; (3) to accommodate an intervening change in controlling

law; or (4) to prevent manifest injustice. Intera Corp. v. Henderson, 428 F.3d 605, 620

(6th Cir. 2005); see also GenCorp, Inc. v. Am. Int'l Underwriters, 178 F.3d 804, 834 (6th

Cir. 1999). However, like motions for reconsideration or rehearing brought under E.D.

LR 7. 1, motions under Fed. R. Civ. P. 59(e) “are not intended as a vehicle to relitigate

previously considered issues; should not be utilized to submit evidence which could

have been previously submitted in the exercise of reasonable diligence; and are not the

proper vehicle to attempt to obtain a reversal of a judgment by offering the same

arguments previously presented.” Kenneth Henes Special Projects Procurement v.

Continental Biomass Industries, Inc., 86 F. Supp. 2d 721, 726 (E.D. Mich. 2000). “A

motion to alter or reconsider a judgment is an extraordinary remedy and should be

granted sparingly.” Plaskon Elec. Materials, Inc. v. Allied–Signal, Inc., 904 F. Supp.

644, 669 (N.D. Ohio 1995); United States v. Limited, Inc., 179 F.R.D. 541, 547 (S.D.

Ohio 1998) (citing Sussman v. Salem, Saxon & Nielsen, P.A., 153 F.R.D. 689, 694

(M.D. Fla.1994), Pennsylvania Ins. Guar. Ass'n v. Trabosh, 812 F. Supp. 522, 524 (E.D.

Pa.1992)).

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                                       III. Discussion

       Sills has not demonstrated that he is entitled to relief under Rule 59(e). Sills’

motion is based on his contention that the Court committed a clear error of law. Sills

says that the Court failed to apply the proper standard of review to his claims, arguing

that the Court applied a plain error standard instead of the Strickland standard.

Petitioner is mistaken. As explained the government’s response to Sills’ motion, the

Court articulated and applied Strickland, concluding that Sills had failed to show that his

trial counsel was ineffective. To the extent that Sills attempts to reargue his claim

regarding trial counsel’s failure to obtain flight records, Rule 59(e) cannot be used to

relitigate an issue already decided.

       SO ORDERED.

                                            s/Avern Cohn
                                           UNITED STATES DISTRICT JUDGE


Dated: December 20, 2013


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, December 20, 2013, by electronic and/or ordinary mail.


                                           s/Carol Bethel for Sakne Chami
                                           Case Manager, (313) 234-5160




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